 Case 2:20-cv-00373-JDL Document 4 Filed 10/14/20 Page 1 of 2                    PageID #: 102




                            UNITED STATES DISTRICT COURT
                                    District of Maine

                                                  )
 DOMINGUS NOBREGA,                                )
               Plaintiff                          )
                                                  )
 v.                                               )
                                                  )
 YORK COUNTY and YORK COUNTY                      )
 SHERIFF,
                                                  )
                Defendants                        )
                                                  )


                                        JURY DEMAND

       NOW COME Defendants, by and through undersigned counsel, and pursuant to F.R.Civ.P.

38(b), hereby demand trial by jury on all counts of the above-entitled matter.




Dated: October 14, 2020                                 /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
 Case 2:20-cv-00373-JDL Document 4 Filed 10/14/20 Page 2 of 2                      PageID #: 103




                           UNITED STATES DISTRICT COURT
                                   District of Maine

                                                  )
 DOMINGUS NOBREGA,                                )
               Plaintiff                          )
                                                  )
 v.                                               )
                                                  )
 YORK COUNTY and YORK COUNTY                      )
 SHERIFF,
                                                  )
                Defendants                        )
                                                  )


                                 CERTIFICATE OF SERVICE
       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

       ●      Jury Demand

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              None

Copies of the above documents have been provided to the Plaintiff via United States Mail, postage
prepaid, at the following address:

              Domingus Nobrega
              1 Layman Way
              Alfred, ME 04002


Dated: October 14, 2020                                 /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
